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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
GREATBANC TRUST COMPANY,
a Illinois corporation,
Case No. 02-72905
Plaintiff, Hon. Patrick J. Duggan
Magistrate Judge Donald A. Scheer
v.
REESE ZANTOP,
Defendant. Se ett pity POET
wk eel ww ba ad a

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ORDER OF DISMISSAL

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At a session of said Court held in the City of
Detroit, Wayne County, Michigan, on
APR 252003

PRESENT: PATRICK DUGGAN

United States District Court Judge
Having considered the parties’ Stipulation of Dismissal,
IT IS TEREBY ORDERED that all claims that were or could have been asserted in this
action arc hereby dismissed, with prejudice, with each party to bear his or its own costs, expenses,

and attorneys fees, The Court retains jurisdiction to enforce the parties’ settlement.

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UNITED STATES DISTRICT GOURT JUDGE

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Case 2:02-cv-72905-PJD ECF No. 22, PagelD.137 Filed 04/25/03 Page 3 of 5

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

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Case No. 02-72905
Plaintiff, Hon. Patrick J. Duggan
Magistrate Judge Donald A. Scheer
Vv,

REESE ZANTOP,

Defendant,

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STIPULATION OF DISMISSAL

The parties have reached a settlement and hereby stipulate and agree that all claims that
were or could have been asserted in this action should be dismissed, with prejudice, with cach party

to bear his or its own costs, expenses, and attorneys fees.
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STIPULATED AND AGREED:
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